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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


UNITED STATES OF AMERICA,

       Plaintiff,

v.                                          Case No. 09-20215

D-12 ERNEST NEAL                            Honorable Sean F. Cox

       Defendant.

_________________________________/

                      ORDER DETAINING DEFENDANT
         PENDING SENTENCING FOR SUPERVISED RELEASE VIOLATIONS

       Pursuant to 18 U.S.C. § 3143, Defendant Ernest Neal having plead guilty to violations of

supervised release, including testing positive for controlled substances, IT IS ORDERED that

Defendant is DETAINED by the United States Marshals pending sentencing for the supervised

release violations.

               IT IS SO ORDERED.


                                            S/Sean F. Cox
                                            Sean F. Cox
                                            United States District Judge


Dated: April 26, 2010


I hereby certify that a copy of the foregoing document was served upon counsel of record on
April 26, 2010, by electronic and/or ordinary mail.

                             S/Jennifer Hernandez
                             Case Manager
